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                                UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                              ORLANDO DIVISION

  UNITED STATES OF AMERICA

  VS.                                                          CASE NO: 6:23-mj-1027-DCI

  DARIUS RODNEY CAPERS


                                                                                           AUSA: Michael Felicetta

                                                           Defense Attorney: Erin Hyde, Federal Public Defender

JUDGE:            DANIEL C. IRICK                         DATE AND TIME:                             January 12, 2023
                  United States Magistrate Judge                                                          11:03-11:35
                                                                                                           32 minutes
Courtroom:        5C                                      TOTAL TIME:

DEPUTY CLERK:     Edward Jackson                          REPORTER:                                                Digital
                                                                               Orlando_Digital_Transcripts@flmd.uscourts.gov

INTERPRETER:      None                                    PRETRIAL/PROB:                               Sonya Williams


                                              CLERK’S MINUTES
                                      CONTINUATION OF DETENTION HEARING

  Case called; appearances taken; procedural setting by the Court.
  Defendant’s witness sworn and testified: Tracy Stokes Capers, Laderida Latoya Stokes
  Counsel for the Government cross examined the witness(es).
  Government’s exhibit entered.
  Defense re-directed the witness(es).
  Court denied the motion for detention and released the Defendant on conditions of release.
  Order Setting Conditions of Release and Appearance Bond entered.




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